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!
Attorney for Defendant Kenneth Earl Hause
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!
                      IN THE UNITED STATES DISTRICT COURT
                                         !
                            FOR THE DISTRICT OF OREGON
                                         !
UNITED STATES OF AMERICA,                      )
                                               )
                       Plaintiff,              )       3:18-CR-00319-MO-4
                                               )
vs.                                            )       DEFENDANT'S MOTION TO
                                               )       CONTINUE TRIAL DATE
KENNETH EARL HAUSE,                            )
                                               )
                       Defendant.              )
!
        Defendant Kenneth Earl Hause, through his attorney, Todd Bofferding,
!
moves this Court for an Order continuing the currently scheduled trial date of April
!
13, 201 to a firm date approximately 6 months therefrom.
!
        Defendant is not in custody, and first appeared and was arraigned in Magistrate
!
Court in this District on January 31, 2019. Honorable Judge Jones has declared this case
!
to be complex. The current trial date is the second trial setting in this case, the first being
!
April 2, 2019.
!
        Counsel has consulted with attorneys for the defendants and with Assistant United
!
States Attorneys Leah Bolstad and Steven Mygrant, and they all do not object to this
!
1! - DEFENDANT’S MOTION TO CONTINUE TRIAL DATE
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Motion, with the exception of Defendant #1. Defense counsels seeking a trial
!
continuance are believed to be filing separate motions.
!
        Defendant has been consulted, and he agrees for the need to continue the trial
!
date. Defendant also understands his rights provided by the Speedy Trial Act, and he
!
agrees to waive those rights by this continuance. Defendant understands and agrees that
!
this continuance constitutes excludable delay.
!
        Grounds for this Motion and case description is contained in Defense Counsel's
!
Declaration, filed simultaneously herewith.

       The period of delay resulting from the granting of this trial date continuance will
!
be excludable, pursuant to 18 U.S.C. 3161(h)(7)(A),(B)(iv) because the ends of justice
!
will be better served by the granting of the continuance, and a continuance will outweigh
!
the best interests of the public and the defendant in a speedier trial.

       RESPECTFULLY SUBMITTED this 21st day of January, 2020.
!
                                               /s/ Todd Bofferding
                                               Todd Bofferding, OSB #883720
                                               Attorney for Defendant Hause




2! - DEFENDANT’S MOTION TO CONTINUE TRIAL DATE
